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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 GETTY IMAGES (US), INC.,                        )
                                                 )
                        Plaintiff,               )
                                                 )
                v.                               )   C.A. No. 23-135 (GBW)
                                                 )
 STABILITY AI, LTD. and                          )
 STABILITY AI, INC.,                             )
                                                 )
                        Defendants.

         DEFENDANTS’ MOTION TO DISMISS OR TRANSFER THIS ACTION

       Pursuant to Federal Rules of Civil Procedure 12(b)(2), 12(b)(6), and 12(b)(7), Defendants

Stability AI, Inc. and Stability AI Ltd. (collectively, “Defendants”) respectfully move to dismiss

Plaintiff’s Amended Complaint (D.I. 13) for lack of personal jurisdiction, for inability to join a

necessary and indispensable party, and for failure to state a claim upon which relief can be

granted. In the alternative, Defendants request that this action be transferred to the Northern

District of California under 28 U.S.C. § 1631 or § 1404(a).

       The grounds for this motion are fully set forth in Defendants’ Opening Brief and the

Declaration of Peter O’Donoghue filed herewith. A proposed order is attached.
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                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                   /s/ Michael J. Flynn
                                   _______________________________
                                   Jack B. Blumenfeld (#1014)
                                   Michael J. Flynn (#5333)
                                   1201 N. Market Street
                                   P.O. Box 1347
                                   Wilmington, DE 19801
                                   (302) 658-9200
                                   jblumenfeld@morrisnichols.com
                                   mflynn@morrisnichols.com

                                   Attorneys for Defendants Stability AI, Inc. and
                                   Stability AI Ltd.
OF COUNSEL:


Nicole M. Jantzi
Paul M. Schoenhard
FRIED, FRANK, HARRIS, SHRIVER
   & JACOBSON LLP
801 17th Street, NW
Washington, DC 20006
(202) 639-7000

-and-

Amir R. Ghavi
Michael C. Keats
Nicholas D. Winkley
FRIED, FRANK, HARRIS, SHRIVER
   & JACOBSON LLP
One New York Plaza
New York, New York 10004
(212) 859-8000

May 2, 2023




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                               D. DEL. LR 7.1.1 CERTIFICATE

       Pursuant to D. Del. LR 7.1.1, the undersigned counsel for Defendants certifies that the

parties have conferred on Defendants’ alternative requested relief for transfer of this action to the

Northern District of California, but the parties were unable to reach agreement.


                                                      /s/ Michael J. Flynn

                                                      Michael J. Flynn (#5333)
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 GETTY IMAGES (US), INC.,                        )
                                                 )
                        Plaintiff,               )
                                                 )
                v.                               )   C.A. No. 23-135 (GBW)
                                                 )
 STABILITY AI, LTD. and                          )
 STABILITY AI, INC.,                             )
                                                 )
                        Defendants.

                [PROPOSED] ORDER GRANTING MOTION TO DISMISS

       The Court, having reviewed and considered Defendants’ Motion to Dismiss and the

responsive filings, finds that the Motion should be granted.

       Accordingly, IT IS HEREBY ORDERED that the Motion is GRANTED and Plaintiff’s

claims in its Amended Complaint (D.I. 13) are DISMISSED WITH PREJUDICE.

       SO ORDERED this                day of                      , 2023.




                                      The Honorable Gregory B. Williams
                                      United States District Judge
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2023, I caused the foregoing to be electronically filed with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused copies of the foregoing document to be served on May 2,

2023, upon the following in the manner indicated:

Tammy L. Mercer, Esquire                                               VIA ELECTRONIC MAIL
Robert M. Vrana, Esquire
YOUNG CONAWAY STARGATT & TAYLOR, LLP
1000 North King Street
Wilmington, DE 19801
Attorneys for Plaintiff

Benjamin E. Marks, Esquire                                             VIA ELECTRONIC MAIL
Jared R. Friedmann, Esquire
WEIL, GOTSHAL & MANGES LLP
767 Fifth Avenue
New York, NY 10153
Attorneys for Plaintiff



                                                     /s/ Michael J. Flynn

                                                     Michael J. Flynn (#5333)
